            Case 1:21-cr-00175-TJK Document 8-1 Filed 02/02/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       Case No:
                                               :
                v.                             :       VIOLATIONS:

                                               :       18 U.S.C. § 1361 & 2 (Aid and Abet Injury
                                                       or Depredation Against United States)

ETHAN NORDEAN                                          18 U.S.C. § 1512(c)(2)(Obstruct or
                                                       Impede Official Proceeding

Also known as “Rufio Panman”,                  :       18 U.S.C. § 1752(a)
                                               :       (Restricted Building or Grounds)
                Defendant.                     :
                                               :       40 U.S.C. § 5104(e)(2)(D)(G)
                                               :       (Violent Entry or Disorderly Conduct)

                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States has

established that a compelling governmental interest exists to justify the requested sealing.

       1.       IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of criminal complaint and other related materials, the instant application to

seal, and this Order are sealed until the arrest warrant is executed.




                                                   1
            Case 1:21-cr-00175-TJK Document 8-1 Filed 02/02/21 Page 2 of 2




       2.       IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.

Date: 2/2/2021

                                                       ___________________________________
                                                       Zia M. Faruqui
                                                       UNITED STATES MAGISTRATE JUDGE




cc:    Jason B.A. McCullough
       Assistant United States Attorney
       United States Attorney’s Office
       555 Fourth Street, N.W.
       Washington, D.C. 20530




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